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17

18
                                   UNITED STATES DISTRICT COURT
19
                                         DISTRICT OF NEVADA
20

21     Cung Le, Nathan Quarry, Jon Fitch, Brandon       Case No.: 2:15-cv-01045-RFB-(PAL)
       Vera, Luis Javier Vazquez, and Kyle
22     Kingsbury on behalf of themselves and all
       others similarly situated,
23                                                      ZUFFA, LLC’S MOTION TO SEAL
                     Plaintiffs,                        EXHIBITS TO THE JOINT STATUS
24            v.                                        REPORT
25
       Zuffa, LLC, d/b/a Ultimate Fighting
26     Championship and UFC,

27                   Defendant.
28


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 1            Pursuant to the Stipulated Protective Order governing confidentiality of documents

 2     entered by the Court on February 10, 2016, Dkt. 217 (“Protective Order”), the parties’ agreement

 3     regarding the disclosure of documents during the search term testing process, and Rules 5.2 and

 4     26(c) of the Federal Rules of Civil Procedure, Defendant Zuffa, LLC (“Zuffa”) respectfully

 5     requests that the Court order the Clerk of the Court to file under seal of Exhibits G, H and I of the

 6     parties’ Joint Status Report. This motion is accompanied by the Declaration of John F. Cove, Jr.

 7     in Support of Zuffa, LLC’s Motion to Seal.

 8            The Protective Order in this case provides for the filing of documents under seal where

 9     portions or the entirety of the document contain Confidential or Highly Confidential Information.

10     Dkt. 217, ¶ 14.3. In the parties Joint Status Report, Plaintiffs include 3 documents as exhibits

11     which contain confidential information regarding Zuffa’s internal finances, financial terms and

12     incentives of contractual negotiations, and business strategies and analysis. Because these

13     documents implicate Zuffa’s confidential information, Zuffa moves to file these exhibits and the

14     portion of the Joint Status Report under seal.

15            Specifically, Zuffa seeks to seal the following information or exhibits:

16     Exhibit G (COX-0072901)              This document includes the specific financial terms and
                                            incentives offered to a particular athlete during a negotiation.
17     Exhibit H (COX-0001451)              This document includes the specific financial terms and
                                            incentives offered to a particular athlete during a negotiation.
18     Exhibit I (LFertitta)                This document contains Zuffa’s confidential financial
19                                          information as well as internal business analyses and
                                            assessments.
20

21            While Zuffa recognizes the importance of access to public documents, for sealing requests

22     that do not relate to dispositive motions, the presumption of public access to court filings may be

23     overcome by a showing of good cause under Rule 26(c). See Pintos v. Pacific Creditors Ass'n,

24     605 F.3d 665, 678 (9th Cir. 2010); Kamakana v. Honolulu, 447 F.3d 1172, 1179 (9th Cir. 2006).

25     The Court has “broad latitude” under Rule 26(c) “to prevent disclosure of materials for many

26     types of information, including, but not limited to, trade secrets or other confidential research,

27     development, or commercial information.” Phillips v. General Motors Corp., 307 F.3d 1206,

28     1211 (9th Cir. 2002) (citations omitted). In light of the public interest, Zuffa has narrowly
                                                      1
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 1     tailored its request by only sealing the Exhibits with confidential information. Accordingly, the

 2     request to seal is narrowly tailored. A “particularized showing under the good cause standard of

 3     Rule 26(c) will suffice to warrant preserving the secrecy of sealed discovery material attached to

 4     non-dispositive motions.” Kamakana v. City and Cnty of Honolulu, 447 F.3d 1172, 1180 (9th

 5     Cir. 2006) (citations and internal quotation marks omitted).

 6            There is good cause to seal documents containing confidential business assessments and

 7     strategy, financial information and communications containing financial terms, incentives and

 8     negotiations over contract terms where such information could cause competitive harm if

 9     disclosed publicly. See Selling Source, LLC v. Red River Ventures, LLC, No. 2:09-cv-01491-

10     JCM-GWF, 2011 WL 1630338 at *2 (D. Nev. Apt. 29, 2011) (finding good cause to seal

11     information regarding finances, contractual agreements and information regarding particular

12     arrangements with customers); Aevoe Corp. v. AE Tech. Co., No. 2:12-cv-00053-GMN-NJK,

13     2013 WL 2302310, at *2 (D. Nev. May 24, 2013) (finding good cause to seal financial

14     information and business strategies); Rainbow Bus. Solutions v. Merch. Servs., 2013 U.S. Dist.

15     LEXIS 67190, at *9 (N.D. Cal. May 10, 2013) (finding compelling reasons to seal “particular

16     information about the party’s contractual agreements . . . the public disclosure of which would

17     impede its ability to negotiate with business partners and to stay competitive in the marketplace”).

18            If Zuffa’s internal business strategies, its financial information, or its negotiations over the

19     specific terms or incentives that it offers individual athletes are publicly disclosed, it could cause

20     Zuffa competitive harm by giving competitors unfair insight into Zuffa’s finances, agreements,

21     negotiation strategy and its internal business processes. Zuffa treats this information as

22     confidential.

23            In addition, the third party who produced Exhibits G and H has requested confidential

24     treatment of these documents pursuant to the Protective Order.

25            Zuffa respectfully requests that the designated portions of the documents identified as

26     Exhibits G, H, and I be permitted to be filed under seal.

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 1     Dated: February 19, 2016             BOIES, SCHILLER & FLEXNER LLP

 2

 3                                          By: /s/John F. Cove, Jr.
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